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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     AVAYA INC.,                                         Case No. 19-cv-00565-SI
                                   8                    Plaintiff,                           ORDER GRANTING UNOPPOSED
                                                                                             MOTION BY SHEPPARD, MULLIN,
                                   9              v.                                         RICHTER & HAMPTON LLP TO
                                                                                             WITHDRAW AS COUNSEL FOR
                                  10     RAYMOND BRADLEY PEARCE, et al.,                     ATLAS SYSTEMS, INC.
                                  11                    Defendants.                          Re: Dkt. No. 377

                                  12
Northern District of California




                                              On June 9, 2023, the Court held a hearing on the motion by Sheppard, Mullin, Richter &
 United States District Court




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                                       Hampton LLP to withdraw as counsel for Atlas Systems, Inc. On June 14, counsel filed a statement
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                                       from Christopher Klow, Vice President for Atlas Systems, Inc., stating that Atlas does not oppose
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                                       the motion to withdraw.
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                                              On this record, the Court finds it appropriate to GRANT the motion to withdraw. Atlas is
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                                       advised that in the event that the bankruptcy stay is lifted, Atlas may not proceed in this case without
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                                       legal representation.
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                                              IT IS SO ORDERED.
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                                       Dated: June 15, 2023                           ______________________________________
                                  23                                                    SUSAN ILLSTON
                                                                                        United States District Judge
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